       Case 2:17-cv-02526-JWL-JPO Document 18 Filed 04/02/18 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

KENAN METZGER, and                           )
ALLISON METZGER,                             )
                                             )
       Plaintiffs,                           )
                                             )         Case: 2:17-cv-02526
v.                                           )         JURY TRIAL DEMANDED
                                             )
BANK OF AMERICA, NA,                         )
                                             )
       Defendant.                            )


                      STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, with the stipulation and agreement

of Defendant Bank of America, N.A., hereby dismisses this action, with prejudice, each party to

bear its own costs.




                                                       Respectfully submitted,

       April 2, 2018                               CREDIT LAW CENTER

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                                                 -1-
Case 2:17-cv-02526-JWL-JPO Document 18 Filed 04/02/18 Page 2 of 3




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                               -2-
      Case 2:17-cv-02526-JWL-JPO Document 18 Filed 04/02/18 Page 3 of 3




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 2nd day of April, 2018, the foregoing was
electronically filed with the ECF filing system.


                                                           By: /s/ Thomas A. Addleman
                                                           Thomas A. Addleman
                                                           Attorney for Plaintiff




                                               -3-
